Case 2:16-cv-00086-SWS Document 1-1 Filed 04/28/16 Page 1 of 2

JS 44 (Rev, 12/12)

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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor su
provided by local rules of court. This form, approved by the Judicial Conference of th

purpose of initiating the civil docket sheet, (SE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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ement the filing and service of pleadings or other papers as re
74, is required for the use of the Clerk of Court for the

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uired by law, except as

 

I. (a) PLAINTIFFS
C. Mark Cupps, Mark B. and Cheryl L. Koenig,
John E. McInroy and Ann W, Peck, Phillip and Andrea L. Koski, Esther
Sandoval, Kay Yuen Hing Recovable Trust, Anthony R. Hoch, Floyd A. and
Barbara J. Barbour, William G. Cutler, and Bruce R. and Debra J. Smith
(b)

County of Residence of First Listed Plaintiff Albany
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
Budd-Falen Law Offices, LLC
300 East 18" Street
Post Office Box 346
Cheyenne, WY 82003-0346
307/632-5105

Dale M. and repey Carlson,
3S

DEFENDANTS

NOTE:

Attorneys (If Known)
Michael G. Weisz

501 Garfield Street

 

Post Office Box 1285
Laramie, WY 82073-

Pioneer Canal-Lake Hattie Irrigation District

County of Residence of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Pence and MacMillan, LLC

1285 307/745-3626

 

 

 

 

 

Il. BASIS OF JURISDICTION (Place an “X" in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O11 U.S. Goverment EJ3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State O1 OO 1 Incorporated or Principal Place O4 O84
of Business In This State
(12 U.S. Government O14 Diversity Citizen of Another State O12 CO 2 Incorporated and Principal Place Os O85
Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of a O3 CO 3 Foreign Nation O6 6
Foreign Country
IV. NATURE OF SUIT (Place an “X" in Qne Box Only)
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
(110 Insurance PERSONAL INJURY PERSONAL INJURY — |[]625 Drug Related Seizure (1) 422 Appeal 28 USC 158 (0 375 False Claims Act
0 120 Marine 1 310 Airplane C1 365 Personal Injury - of Property 21 USC 881 |[]423 Withdrawal 1 400 State Reapportionment

(130 Miller Act 01 315 Airplane Product Product Liability

0 140 Negotiable Instrument Liability C) 367 Health Care/
(150 Recovery of Overpayment |(] 320 Assault, Libel & Pharmaceutical
& Enforcement of Judgment Slander Personal Injury
(151 Medicare Act (C 330 Federal Employers’ Product Liability
(152 Recovery of Defaulted Liability C1 368 Asbestos Personal
Student Loans © 340 Marine Injury Product
(Excludes Veterans) 0 345 Marine Product Liability
(153 Recovery of Overpayment Liability PERSONAL PROPERTY

1 370 Other Fraud

0 371 Truth in Lending

(1 380 Other Personal
Property Damage

C1 385 Property Damage
Product Liability

1 350 Motor Vehicle

© 355 Motor Vehicle
Product Liability

© 360 Other Personal
Injury

(2 362 Personal Injury -
Medical Malpractice

of Veteran's Benefits
D0 160 Stockholders’ Suits
(1190 Other Contract
(0 195 Contract Product Liability
(CD 196 Franchise

 

 

 

 

 

 

| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS
(J 210 Land Condemnation CJ 440 Other Civil Rights Habeas Corpus:
C220 Foreclosure OF 441 Voting 0 463 Alien Detainee

1 510 Motions to Vacate
Sentence

0 530 General

0 535 Death Penalty

Other:

(J 540 Mandamus & Other

0 550 Civil Rights

(0 555 Prison Condition

0 560 Civil Detainee -
Conditions of
Confinement

LC 230 Rent Lease & Ejectment
(240 Torts to Land

(245 Tort Product Liability
&) 290 All Other Real Property

(0 442 Employment

1 443 Housing/
Accommodations

OF 445 Amer. w/Disabilities
Employment

OO 446 Amer. w/Disabilities
Other

0 448 Education

 

 

(1690 Other 28 USC 157
PROPERTY RIGHTS
(820 Copyrights
(1830 Patent
(840 Trademark
LABOR SOCIAL SECURITY
(1710 Fair Labor Standards (861 HIA (1395ff)
Act (862 Black Lung (923)
(1720 Labor/Management (0863 DIWC/DIWW (405(g))
Relations (C864 SSID Title XVI

(1740 Railway Labor Act

(1751 Family and Medical
Leave Act

(1790 Other Labor Litigation

(1791 Employee Retirement
Income Security Act

(11865 RSI (405(g))

FEDERAL TAX SUITS

 

 

IMMIGRATION

 

 

(462 Naturalization Application

(11465 Other Immigration
Actions

 

(1870 Taxes (U.S. Plaintiff
or Defendant)

(871 IRS—Third Party
26 USC 7609

 

0 410 Antitrust

1 430 Banks and Banking

0 450 Commerce

1 460 Deportation

O 470 Racketeer Influenced and
Corrupt Organizations

1 480 Consumer Credit

0 490 Cable/Sat TV

1 850 Securities/Commodities/
Exchange

1 890 Other Statutory Actions

1 891 Agricultural Acts

0 893 Environmental Matters

0 895 Freedom of Information
Act

1 896 Arbitration

1 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

(1 950 Constitutionality of
State Statutes

 

V. ORIGIN (Place an “X" in One Box Only)

bY | Original LJ 2 Removed from
Proceeding State Court

L! 3 Remanded from
Appellate Court

Ll4

VI. CAUSE OF 43 USC 946-949

Reinstated or
Reopened

(specify)

Cite the U.S. Civil Statute under which you are filing (Doe not cite jurisdictional statutes unless diversity):

LJ 5. Transferred from LJ] 6 Miultidistrict

Another District Litigation

 

 

 

 

 

 

ACTION Brief description of cause:
Quiet Title and action for inverse condemnation re: federal right-of-way.
VII. REQUESTED IN 7 CHECK IF THIS IS A CLASS ACTION DEMAND $ er CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. FRE RES: Ces BI No
VIII. RELATED CASE(S)
IF ANY Beemsiructons)’ upc ey DOCKET NUMBER
DATE j \ —SIGNATUR/E OFATPORNEY OF RECO
Hf 27 [20s [hve
FOR OFFICE/USE ONLY : i
ry at ae | \ — asm
Case 2:16-cv-00086-SWS Document 1-1 Filed 04/28/16 Page 2 of 2

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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JS 44 Reverse (Rev, 12/12)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

EL (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at
the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In
land condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
noting in this section "(see attachment)".

IL. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box | or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Il. Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark
this section for each principal party.

IV. Nature of Suit. Place an “X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more
than one nature of suit, select the most definitive.

V. Origin, Place an “X" in one of the six boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
When this box is checked, do not check (5) above.

VIL Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII. Requested in Complaint. Class Action. Place an “X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
